Case 3:19-cv-01636-AJB-AHG Document 1-3 Filed 08/29/19 PageID.33 Page 1 of 5



                                                            '19CV1636 BEN AGS




                      EXHIBIT B
             Case 3:19-cv-01636-AJB-AHG Document 1-3 Filed 08/29/19 PageID.34 Page 2 of 5
 Attorney or Party without Attorney:                                                                                     For Court Use Only
 CROSNER LEGAL, P.C.
 Zachary M. Crosner (Bar No. 272295)
 433 N. Camden Dr Suite 400                                                                                  ELECTRONICALLY FILED
                                                                                                                 Superior Court of California,
 Beverly Hills, CA 90210                                                                                            County of San Diego
   Telephone No: (310) 496-4818
                                                                    Ref. No. or File No.:
                                                                                                                 08/2012019 at 08:57:00 .FYI
      Attorney For:       Plaintiff                                                                              Clerk of the Superior Court
                                                                                                                 By E Filing.Deputy Clerk
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA
 IN AND FOR THE COUNTY OF SAN DIEGO
     Plaintiff:       MARIA HERNANDEZ, as an individual; et al.
 Defendant:           SOUTHWEST KEY PROGRAMS, INC., a Texas corporation; et al.

             PROOF OF SERVICE                       Hearing Date:           Time:           Dept/Div:      Case Number:
                                                                                                           37-2019-00036821-CU-OE-CTL
                SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons, Class Action Complaint, Civil Case Cover Sheet, Notice of Case Assignment and Case
      Management Conference on Mandatory eFile Conference, Stipulation To Use Alternative Dispute Resolution (ADR)

3.    a.     Party served:           SOUTHWEST KEY PROGRAMS, INC., a Texas corporation
      b.     Person served:          KAVITA SHARMA, Agent for Service of Process

4.    Address where the party was served:            808 Grayson Rd, Pleasant Hill, CA 94523

5.    I served the party:
      a. by personal service.           I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                        service of process for the party (1) on (date): Tue, Jul 30 2019 (2) at (time): 03:31 PM
      (1)                (business)
      (2)         X      (home)
      (3)                (other) :


6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.                as an individual defendant.
      b.                as the person sued under the fictitious name of (specify):
      c.                as occupant.
      d.      X         On behalf of (specify): SOUTHWEST KEY PROGRAMS, INC., a Texas corporation
                        under the following Code of Civil Procedure section:
                         X     416.10 (corporation)                                             415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                     416.60 (minor)
                               416.30 (joint stock company/association)                         416.70 (ward or conservatee)
                               416.40 (association or partnership)                              416.90 (authorized person)
                               416.50 (public entity)                                           415.46 (occupant)
                               other:




                      Judicial Council Form POS-010                     PROOF OF                                                                 3614273
                      Rule 2.150.(a)&(b) Rev January 1, 2007             SERVICE                                                               (4069725)
                                                                        SUMMONS                                                               Page 1 of 2
FIRSTLEGAL
             Case 3:19-cv-01636-AJB-AHG Document 1-3 Filed 08/29/19 PageID.35 Page 3 of 5
 Attorney or Party without Attorney:                                                                               For Court Use Only
 CROSNER LEGAL, P.C.
 Zachary M. Crosner (Bar No. 272295)
 433 N. Camden Dr Suite 400
 Beverly Hills, CA 90210
   Telephone No: (310) 496-4818

      Attorney For:                                               Ref. No. or File No.:
                         Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA
 IN AND FOR THE COUNTY OF SAN DIEGO
     Plaintiff:    MARIA HERNANDEZ, as an individual; et al.
 Defendant:        SOUTHWEST KEY PROGRAMS, INC., a Texas corporation; et al.

             PROOF OF SERVICE                     Hearing Date:           Time:           Dept/Div:    Case Number:
                                                                                                       37-2019-00036821-CU-OE-CTL
                SUMMONS




                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                               Dennis Kittleson
      b. Address:                            FIRST LEGAL
                                             1517 W. Beverly Blvd.
                                             LOS ANGELES, CA 90026
      c.     Telephone number:               (213) 250-1111
      d.     The fee for service was:        $236.34
      e.     I am:
             (1)         not a registered California process server.
             (2)           exempt from registration under Business and Professions Code section 22350(b).
             (3)     X     a registered California process server:
                           (i)           owner       employee      X independent contractor
                           (ii)      Registration No: 130422
                           (iii)     County: Solano




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                  07/31/2019
                                                                                     (Date)                             Dennis Kittleson




                   Judicial Council Form POS-010                      PROOF OF                                                                3614273

 in
FIRSTLEGAL
                   Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE
                                                                      SUMMONS
                                                                                                                                            (4069725)
                                                                                                                                           Page 2 of 2
             Case 3:19-cv-01636-AJB-AHG Document 1-3 Filed 08/29/19 PageID.36 Page 4 of 5
 Attorney or Party without Attorney:                                                                                      For Court Use Only
 CROSNER LEGAL, P.C.
 Zachary M. Crosner (Bar No. 272295)
 433 N. Camden Dr Suite 400                                                                                   ELECTRONICALLY FILED
                                                                                                                  Superior Court of California,
 Beverly Hills, CA 90210                                                                                             County of San Diego
   Telephone No: (310) 496-4818
                                                                                                                  08/2012019 at 08:57:00 .FYI
      Attorney For:                                                  Ref. No. or File No.:
                          Plaintiff                                                                               Clerk of the Superior Court
                                                                                                                  By E Filing.Deputy Clerk
 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
     Plaintiff:       MARIA HERNANDEZ, as an individual; et al.
 Defendant:           SOUTHWEST KEY PROGRAMS, INC., a Texas corporation; et al.

             PROOF OF SERVICE                        Hearing Date:           Time:           Dept/Div:      Case Number:
                                                                                                            37-2019-00036821-CU-OE-CTL
                SUMMONS

1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the Summons, Class Action Complaint, Civil Case Cover Sheet, Notice of Case Assignment and Case
      Management Conference on Mandatory eFile Conference, Stipulation To Use Alternative Dispute Resolution (ADR)

3.    a.     Party served:           TALENTWISE, INC., a Delaware corporation
      b.     Person served:          Candice Bosch, Deputy Secretary of State

4.    Address where the party was served:            1500 11th St, Wofford Heights, CA 93285

5.    I served the party:
      a. by personal service.            I personally delivered the documents listed in item 2 to the party or person authorized to receive
                                         service of process for the party (1) on (date): Tue, Jul 30 2019 (2) at (time): 04:13 PM
      (1)         X      (business)
      (2)                (home)
      (3)                (other) :


6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.                as an individual defendant.
      b.                as the person sued under the fictitious name of (specify):
      c.                as occupant.
      d.      X         On behalf of (specify): TALENTWISE, INC., a Delaware corporation
                        under the following Code of Civil Procedure section:
                         X     416.10 (corporation)                                              415.95 (business organization, form unknown)
                               416.20 (defunct corporation)                                      416.60 (minor)
                               416.30 (joint stock company/association)                          416.70 (ward or conservatee)
                               416.40 (association or partnership)                               416.90 (authorized person)
                               416.50 (public entity)                                            415.46 (occupant)
                               other:



                      Judicial Council Form POS-010                      PROOF OF                                                                 3614219
                      Rule 2.150.(a)&(b) Rev January 1, 2007              SERVICE                                                               (4069834)
                                                                         SUMMONS                                                               Page 1 of 2
FIRSTLEGAL
           Case 3:19-cv-01636-AJB-AHG Document 1-3 Filed 08/29/19 PageID.37 Page 5 of 5
 Attorney or Party without Attorney:                                                                              For Court Use Only
 CROSNER LEGAL, P.C.
 Zachary M. Crosner (Bar No. 272295)
 433 N. Camden Dr Suite 400
 Beverly Hills, CA 90210
   Telephone No: (310) 496-4818

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 SUPERIOR COURT OF THE STATE OF CALIFORNIA IN AND FOR THE COUNTY OF SAN
 DIEGO
     Plaintiff:   MARIA HERNANDEZ, as an individual; et al.
 Defendant:       SOUTHWEST KEY PROGRAMS, INC., a Texas corporation; et al.

           PROOF OF SERVICE                      Hearing Date:           Time:           Dept/Div:    Case Number:
                                                                                                      37-2019-00036821-CU-OE-CTL
              SUMMONS




                                                                            Recoverable cost Per CCP 1033.5(a)(4)(B)
7.    Person who served papers
      a. Name:                             Michael Morris
      b. Address:                          FIRST LEGAL
                                           1517 W. Beverly Blvd.
                                           LOS ANGELES, CA 90026
      c.    Telephone number:              (213) 250-1111
      d.    The fee for service was:
      e.    I am:
            (1)   =     not a registered California process server.
            (2)   =      exempt from registration under Business and Professions Code section 22350(b).
            (3)   =X     a registered California process server:
                         (i)     =     owner   =    employee     =X    independent contractor
                         (ii)      Registration No: 2102-33
                         (iii)     County: Sacramento




8.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                 08/01/2019
                                                                                    (Date)                             Michael Morris




                  Judicial Council Form POS-010                       PROOF OF                                                             3614219
                  Rule 2.150.(a)&(b) Rev January 1, 2007               SERVICE                                                           (4069834)
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